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CJA 20 APPOINT
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B`§ELPaoe 1 of 2 PaqeiD 124

 

1. ClRJDlsT./br\$?l&§_t')f ' V
TNW

l L\Juuv \Jl
1. PERSON RE|'RESENTED
Forci, Shirley

 

 

VOUCHER NUMBER

 

3. MAG. DKT.IDEF. NUMBER

4. DIST. DKTJDEF. NUMBER
2:04-020330-002-MA

S. APPEALS DKTJDEF. NUMBER

6. OTHER DKT. NUMBER

 

v. lN cAsEiMATrEa or
U.S. v. Ford Felony

(Case Name)

 

B. PAYMENT CATEGORY

 

9. 'rer PERSON REPnEsEN'rl-:o
Aduit Defendant

 

10. REPRESENTAT|ON TYI'E

(See lnstrul:tlons]

Crirm`nai Case

 

1]. DFFENSE(S) CHARGED (Cite U.S. Cotle, Title & Set:lion)

limore than one ol'i'ense.

l) 21 S4IA=CD. F -- CONTROLLED SUBSTANCE - SELL,

list {up to i'ive] major nt'Enses eharged. according to severity uloifense.

DISTRIBU TE, OR DISPENSE

 

ANI) MAlLlNG noon
JOHNSON, L. DANIEL
254 Court St
Suite 301
Mernphis TN 38103

(90|) 543-0700

Te|ephone Numher:

12. ATTORNEY'S NAME li:gl"§irlt Name. M.l., Lul Nlme. including any sufi'ix)

 

CATEGORIES (Attaclt itemization of services with dates)

14. NAME AND MAILINC ADDRESS OF LAW FlRM (oniy provide per instructlous)

 

 

HOURS
CLA[MED

13. COURT ORDER

 

 
 
 
  

 

  
  

 

 

    

 

  

0 Appointing Cuunsei C Co-Counsei
ij F Subs For Federal Defender \:l R Subs For Retained Attorney an
!:] P Subs For Panei Aiturney \:i V Standby Counsei C:> ('
Prior Attorney's Name: m \'J
Appoinimentl)ale: C:)_, (z
[] Be:luse the above-named person represented haa testified under oa _ haar ‘/
otherwise satisfied thi.l court that he o . e financially unable t ._ 'tm:ilae_l and
(I)does nut wish to wa 1 hecau:et e interests uf]uatire ‘ i.[ fate \`:
is sp l inted to represent this pceee_o _ nytlsia'ease, -'J
` 13
Signlture of l»‘re:iidinlI .lu lcial | l'ilcer or By Order ofthe Court §.v," d
07/? mo § 91 - ‘ »
Date ufOrder Nunc Pro Tunc DI(Q 3 d
Repayment or partial repayment ordered from the person represented for th%@ ‘
time ofappointmem_ [] ES l:l NO '

  
  

 

15. a. Arraignment and/or l’lea

 

b. Baii and Detention Hearings

 

c. Motion Hearings

 

d. 'I`rlal

 

e. Semencing Hearings

 

f. Revocation Hearings

 

_-.=en =-

g. Appeais Court

 

h. Other (Specify on additional sheets)

 

(Rate per hour = $ )

TOTALS:

 

a. lnterviews and Conferences

 

h. Obtaining and reviewing records

 

c. Legal research and brief writing

 

d. Travei time

 

e. investigative and Other work

(Specily on additional sheets)

 

»-»-\l=o!'} -oo ~=O g

(Rate per lloor = S )

TOTALS:

 

 

r‘

Travel Expenses (|odglng, parking, meals, mileage, etc.)

 

 

Otller Expenses

m--z

(other than ex ert, transcriptl etc.)

18.

  
 

 
    

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representation? m YES [] NO
l swear or allirm the truth or correctness of the above statementsl

Otlaer than from the cnurt, have ynu, or toyour knowledge has anyone eiae, received payment (eompensatiun or any
ifyes, give details on additional sheets.

Date:

 

Signature ol' Attorney:

24. OUT UF COURT CO

 

25. TR.AVEL EXPENSES

]9. CERTlFlCA'llCiN OF ATI`ORNEY/PAYEE FOR THE PERIOD 0 F SERVICF. 20. APPOINTMENT TERMlNATlON DATE ZI. CASE DISPO SlTlON
lF OTHER THAN CASE CC|MPLET]ON
FRoM 1'0
22. C LAIM STATUS m Final Payment l:] Inlerlm Plymeni Number __ ij Sup lemental Paymeot
i-lsve you previously applied to the court ru- enmpensetion and/or remimburtemenr for this case? i:| YES |:§ NO li'yea. were you paid'.' i:| YES i:] NO

thing or value) from any other source in connection with this

 

 

26. OTHER EXPENSES

  

27. TOTAL AMT. APPRI'CERT

  

 

28. SIGNATURE OF THE PRES|D|NG JUD|C|AL OFFlCER

DATE

ZBa. J'UDGE »'MAG. .FUDGE CODE

 

19. IN COURT COMP. 30. OUT OF COURT COMP.

 

 

31.

TRAVEL EXPENSES

32. OTHER EXPENSES

33. TOTAL AMT. APPRGVED

 

34. SlGNATURE OF
approved in excess o the statutory threshold amoun .

 

HlEF JUDCE, COURT 0:" APP EALS {OR DELEGATE) Payment

DATE

 

343. JUDGE CDDE

 

 

 

This dochent entered on the docket sheet in c rn

with Fi.iie 55 and/or 32!bi FPiCrP on ‘

§ piiance

 

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UNITsED`ATEs ISTRIC COURT - WETERN DISITRCT oF TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 100 in
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Honorable Samuel Mays
US DISTRICT COURT

